 Case 7:23-cv-00343    Document 50   Filed on 11/08/24 in TXSD   Page 1 of 18




                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         MCALLEN DIVISION
JUANA CRUZ, ET AL.,                  §
Individually and On Behalf of All    §
Others Similarly Situated,           §
             Plaintiffs,             §
                                     §
V.                                   §   CIVIL ACTION NO.: 7:23-cv-00343
                                     §
DELGAR FOODS, INC D/B/A              §
DELIA’S TAMALES                      §
          Defendants.                §


      PLAINTIFFS’ RESPONSE TO DEFENDANT DELGAR FOODS, LLC’S
                    MOTION FOR SUMMARY JUDGMENT
       Case 7:23-cv-00343     Document 50      Filed on 11/08/24 in TXSD       Page 2 of 18




                                   TABLE OF CONTENTS
Table of Authorities………………………………………………………………………………3
I.        SUMMARY OF THE ARGUMENT………..……………………..…………….…….4, 5
II.       SUMMARY JUDGMENT EVIDENCE……………………….…………………………5
III.      STATEMENT OF DISPUTED FACTS………………...………………….…………6-10
          A.    Parties and Procedural Background
          B.    Delia’s Misclassification of Managers and Supervisors paying them on a salary
                basis and had some “managerial” duties
          C.    The Hourly Plaintiffs were improperly compensated for all hours they worked in
                excess of 40 hours work week
IV.       ARGUMENT AND AUTHORITIES……………………………….……………….10-15
          A.    Summary Judgment Standard
          B.    Delia’s is not entitled to summary judgment because there is fact issue
                whether Delia’s can provide proof they paid overtime as required by FSLA.
                1.     Plaintiffs present some evidence Delia’s knew or should have known
                       that Plaintiffs worked more than 40 hours per week.
                2.     Plaintiffs’ summary judgment evidence reflects that all of the
                       employees were working in excess of 40 hours a week.
                3.     Zuniga, Mauleon, Morales, Lievanos, Quintanilla, Gonzalez, and Lopez,
                       while they may have been classified as exempt under FLSA, were not
                       under the “executive” exemption.
                       i.     Plaintiffs employees meet a salary-based test.
                       ii.    Plaintiffs employees do not meet primary duty test.
                       iii.   Plaintiffs employees might have supervised two or more direct
                              directly but supervisor of co-employees is not dispositive of this
                              FSLA suit action.
                       iv.    Plaintiffs employees did not have the right to hire or fire.
                C.     Delia’s is not entitled to summary judgment, as liquidated damages may
                       be established at time of trial.
                1.     Plaintiffs have provided some evidence that support that Delia’s acted
                       willfully in failing to pay overtime pay.
V.        CONCLUSION ………………………………………………………………………….16
CERTIFICATE OF SERVICE …………………………………….……………………………17
APPENDIX …………………………………………………………………….……………..…18
                                          Page 2 of 18
    Case 7:23-cv-00343                    Document 50                Filed on 11/08/24 in TXSD                       Page 3 of 18




                                               TABLE OF AUTHORITIES
Cases                                                                                                                           Page(s)
Anderson v. Mt. Clemens Pottery Company,
328 US 680 (S. Crt. 1946)……………………………………………………………………….11
Barcelona v. Tiffany Eng. Eub., Inc.,
597 F.2d 464 (5th Circ. 1979).…………………………………………………………...……….11
Celotex Corp. v. Catrett,
477 U.S. 317 (1986).......................................................................................................................10
City of Hodgson v. Rikey Fashions, Inc.,
434 F.2d, 1261, 1264, (Fifth Cir. 1970)……………...…………………………………………..13
Crawford v. Formosa Plastic Corp.,
234 F.3d 899, 902 (Fifth Cir., 2000)……………….…………………………………………….10
Dakar v. Saybolt, L.P.,
914 F.3d 917, 931 (5th Cir. 2018).................................................................................................12
Flores v. FS Blinds, L.L.C.,
73 F.4th 356, 363 (5th Cir. 2023)…………..................................................................................13
Heidtman v. County of El Paso,
171 F.3d 1038 (5th Cir. 1999)……………...................................................................................12

Helix Energy Solutions Group, Inc. v. Hewitt,
598 U.S. 39, 45, 143 S.Crt. 677 (2023) ..........................................................................................9
Statutes
29 U.S.C. § 213 .............................................................................................................................15
Fair Labor Standards Act ................................................................................................................4

Other Authorities
FED. R. CIV. P. 56(a) ...................................................................................................................10
Section 13(a)(1) of the FLSA …………………………………………….………………………8




                                                              Page 3 of 18
   Case 7:23-cv-00343       Document 50      Filed on 11/08/24 in TXSD       Page 4 of 18




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION

 JUANA CRUZ, ET AL.,                          §
 Individually and On Behalf of All            §
 Others Similarly Situated,                   §
              Plaintiffs,                     §
                                              §
 V.                                           §    CIVIL ACTION NO.: 7:23-cv-00343
                                              §
  DELGAR FOODS, INC D/B/A                     §
  DELIA’S TAMALES                             §
            Defendants.                       §


        PLAINTIFFS’ RESPONSE TO DEFENDANT DELGAR FOODS, LLC’S
                     MOTION FOR SUMMARY JUDGMENT


       NOW COME Plaintiffs and file their Response to Defendant Delgar Foods, LLC’s

Motion for Summary Judgment. In support, Plaintiffs respectfully offer the following for

consideration by the Court.

                       I.     SUMMARY OF THE ARGUMENT

       Plaintiffs were all formerly employed by Delia’s and worked at several of Delia’s

restaurants. After their termination, Plaintiffs initiated suit under the Fair Labor Standards

Act (“FSLA”), alleging Delia’s failed to pay overtime wages.

       Plaintiffs’ deposition testimony and summary judgment evidence which will be

presented, will establish Plaintiffs employees worked in excess of 40 hours a week, and

in some cases as many as 80 or more hours a week. Most of the Plaintiffs employees (20)

were hourly employees and while others (7) were classified by Delia’s as managers or

                                        Page 4 of 18
  Case 7:23-cv-00343        Document 50      Filed on 11/08/24 in TXSD     Page 5 of 18




management positions in order to avoid paying overtime pursuant to FSLA. The evidence

will show that for years Delia’s paid some of these employees, all of whom were

undocumented, cash or check payments, and did not report their wages. This is clearly

some evidence Delia’s acted in bad faith and should be liable to pay overtime as provided

in the FSLA.

                     II.    SUMMARY JUDGMENT EVIDENCE

      In reliance, and in support of the denial of Defendant’s Motion for Summary

Judgment, this Court should review the affidavits and deposition testimony, including the

Appendix incorporated herein by reference for all purposes:

       1       Excerpts from the Deposition of Olga Perez dated June 26, 2024
       1-A     Plaintiff Olga Perez Affidavit
       2       Excerpts from the Deposition of Armando Morales de Llano dated June 26, 2024
       3       Excerpts from the Deposition of Elias Gutierrez dated June 28, 2024
       3-A     Plaintiff Elias Gutierrez Affidavit (a/k/a Gonzalo Esquivel Garcia)
       4       Excerpts from the Deposition of Luis Zuniga dated June 28, 2024
       4-A     Plaintiff Luis Zuniga Affidavit
       5       Excerpts from the Deposition of Miguel Caballero dated June 26, 2024
       6       Excerpts from the Deposition of Rosendo Lievanos dated June 28, 2024
       6-A     Plaintiff Rosendo Lievanos Affidavit
       7       Plaintiff Juana Cruz Affidavit
       8       Plaintiff Rosa Quintanilla Affidavit
       9       Plaintiff Hector Gonzalez Affidavit
       10      Plaintiff Jorge Mauleon Affidavit
       11      Plaintiff Angelica Chavez Affidavit
       12      Plaintiff Ofelia Benavides Affidavit
       13      Plaintiff Gabriela Velasquez Affidavit
       14      Plaintiff Melesio Cruz Affidavit
       15      Plaintiff Yessy Perez Affidavit
       16      Plaintiff Mauricio Sanchez Affidavit
       17      Plaintiff Rafael Sanchez Affidavit
       18      Plaintiff Hector Sanchez Affidavit
       19      Plaintiff Maria de Lourdes Cruz Affidavit
       20      Affidavit of Patricia Conde
       21      Affidavit of Norma Conde

                                        Page 5 of 18
     Case 7:23-cv-00343   Document 50      Filed on 11/08/24 in TXSD   Page 6 of 18




                   III.   STATEMENT OF UNDISPUTED FACTS

        All 27 Plaintiffs were former employees of Delia’s, who were terminated because

of their legal status. All were undocumented and Delia’s was fully aware of their

immigration status, and their immigration status was the reason that they worked in

excess of 40 hours work week and were not paid as provided under FSLA. Plaintiffs’ sole

claim(s) before this Court are Fair Standard Labor Act (“FSLA”) claims. Plaintiffs

attempted to amend their petition and bring additional defendants (Delia Garza and her

extended family), and other similarly situated employees whom for years had IRS, social

security and Medicare tax withholdings from their pay which monies have never been

accounted by Delia’s.

A.      Parties and Procedural Background.

        Of the 27 employees who have filed suit, 20 were employees worked for Delia’s

in her kitchens, production workers, and cashiers. The hourly Plaintiffs employees are

identified as Gabriela Velazquez, Concepcion Perez, Maria Jesus Lopez Medina, Gilda

Rivas, Lazaro Garcia, Elias Gutierrez (identified as Jose Elias NG in Plaintiffs’

Pleadings), Elizabeth Lara, Olga Perez, Hector Sanchez, Maria de Lourdes Cruz, Ricardo

Esquivel, Mauricio Sanchez, Juana Cruz de la Cruz, Guillermo Ruiz, Ofelia Benavides,

Miguel Caballero, Angelica Chavez, Melesio Cruz, Yessy Perez, and Rafael Sanchez.

        The seven remaining Plaintiffs employees employed by Delia’s were classified as

managers and/or supervisors in order to avoid overtime pay under FSLA. These Plaintiffs


                                      Page 6 of 18
  Case 7:23-cv-00343      Document 50      Filed on 11/08/24 in TXSD      Page 7 of 18




are Rosa Quintanilla, Carlos Lopez, Hector Gonzalez, Jorge Mauleon, Rosendo Lievanos,

Luis Zuniga, and Armando Morales.

      Plaintiffs’ filed suit on August 31, 2023 in the 464th Judicial District Court,

Hidalgo County, Texas. The case was removed to the U.S. District Court for the Southern

District of Texas-McAllen Division on October 6, 2023. Plaintiffs amended their

complaint on December 15, 2023, and have brought forth one claim(s) under FSLA.

      Plaintiffs attempted to certify this case as a collective action via an amended

complaint was denied by the Court on September 17, 2024. Plaintiffs and former co-

employees attempted to bring in additional parties (Delia Garza and her extended family)

and claims including a RICO Action.

      The current Plaintiffs identified in this case, and additional Plaintiffs, former co-

employees, and/or other similarly situated employees filed a state action on October 1,

2024, in the 139th Judicial District Court, Hidalgo County, Texas, styled: Juana Cruz,

Ofelia Benavides, Jose Elias Ng, Gabriela Velazquez, Ricardo Gonzalo, Melesio Cruz,

Angelica Chavez, Concepcion Perez, Olga Perez, Mauricio Sanchez, Jorge Mauleon,

Hector Sanchez, Hector Gonzalez, Yessy Perez Martinez, Maria De Lourdes Cruz,

Rosendo Lievanos, Elizabeth Lara, Luis Alberto Zunga Castillo, Miguel Caballero

Sanchez, Guillermo De La Cruz Mendoza, Carlos Daniel Lopez, Gilda Rivas, Armando

Morales De Llano, Lazaro Garcia, Maria De Jesus Medina, Ricardo Esquivel, Rafael

Sanchez, Guillermo Ruiz, Rosa Quintanilla, Maria Guadalupe Villarreal Silva, Karina

Medina, Rafaela Rivera, Alice Fernanda Castro, Alejandro Rangel, Gerald Wendle III,

                                       Page 7 of 18
     Case 7:23-cv-00343    Document 50     Filed on 11/08/24 in TXSD      Page 8 of 18




Maria Vanta and Maria Rodriguez vs. Delia Garza a/k/a Delia Lubin, Sofia Lubin a/k/a

Sofia Trevino, Lorena Lubin, Alejandro Trevino, and Juan Garza.

B.      Delia’s Misclassification of Managers and Supervisors paying them on a
        salary basis and had some “managerial” duties.

        The FLSA requires that most employees in the United States be paid at the federal

minimum wage for 40 hours worked in a work week and additional pay at time and one-

half the regular rate of pay for all hours worked above 40 hours in a work week.

        Section 13(a)(1) of the FLSA provides an exemption from both minimum wage

and overtime pay for employees employed as bona fide executive, administrative, and

professional i.e. exempt employees. To qualify for exemption employees must meet

certain tests regarding their job duties and be paid on a salary basis at not less than

$684.00 per week or $107,000.00 per year as of January 2020. Job titles are not

determinative of exempt status. In order for an exemption to apply, an employee’s

specific job duties and salary must meet all the requirements of the Department of

Labor’s regulations.

        To qualify for the executive employee exemption, all of the following tests must

be met:

        1.    The employee must be compensated on a salary basis (as defined in the
              regulations) at a rate not less than $684.00 per week;

        2.    The employees primary duty must be managing the enterprise or managing
              a customarily recognized department or subdivision of the enterprise;

        3.    The employee must customarily and regularly direct the work of at least
              two (2) or more other full-time employees or their equivalent; and

                                       Page 8 of 18
     Case 7:23-cv-00343    Document 50      Filed on 11/08/24 in TXSD      Page 9 of 18




        4.    The employee must have the authority to hire or fire other employees, or
              the employee’s suggestions and recommendations as to the hiring, firing,
              advancement, promotion or any other change of status of other employees
              must be given particular weight.

        “The first is the ‘salary basis’ test, the basic idea of which is that” an employee

can be a bona fide executive only if he receives a ‘predetermined and fixed salary’—one

fact does not vary with the precise amount of time he works. “The second element is the

‘salary level’ test: It asks whether that preset salary exceeds a specific amount, and the

third element is the ‘duties’ test, which focuses on the nature of the employee’s job

responsibilities.” See Helix Energy Solutions Group, Inc. v. Hewitt, 598 U.S. 39, 45, 143

S.Crt. 677 (2023).

C.      The Hourly Plaintiffs Employees were not properly compensated for all the
        hours they worked.
      1.     Ofelia Benavides started as a cook in 2006 to 2011. She was paid $45.00 a
day no matter how many hours she worked. She was working normally 60 to 80 hours a
week. Starting in 2010 she was paid in both checks and cash. She was paid regular pay
and was not paid for overtime. From 2017 thru 2023 she was paid by check. She never
saw the poster required by law to show employees of their rights.

       2.    Gabriela Velazquez was never paid for the overtime. She had to work
during breaks and during lunch time. She was not even able to go to the bathroom during
working hours.

       3.     Melesio Cruz started working in 2006 to 2023. He was paid weekly
$240.00 in cash every week. He was never paid overtime. In 2010 for about 6 months he
was paid by check, $5.25 an hour. He never saw the required poster about employee
rights anywhere at the stores. He was paid in check from 2017 thru 2023, and was never
paid the overtime he worked through his break and lunch break.

       4.     Olga Perez got paid by check from 2017 thru 2023. She never saw the
required poster letting the employees know of their rights. She was never paid on the
overtime that she had to work through her break and her lunch break. She was working
60 to 80 hours a week and was paid $240.00 a week.
                                        Page 9 of 18
  Case 7:23-cv-00343        Document 50    Filed on 11/08/24 in TXSD      Page 10 of 18




       5.     Mauricio Sanchez was forced to work overtime when he did not want to or
be terminated. He worked through his breaks and through lunch and was never paid for
the overtime.

       6.      Yessy Perez was threatened if she did not work extra hours that she would
be fired. She worked 20 hour days in December with no breaks and was given chocolate
and red bull to stay awake. She worked through her breaks and her lunch and was never
paid for that. She was also threatened they would call ICE.

       7.    Rafael Sanchez had no lunch breaks and had to work through lunch and
was never paid for it. He bought fake documents for $300.00. He had to work extra
hours even if he did not want to because of threats of being terminated. He was also
threatened about ICE if he appealed the termination.

      8.     Hector Sanchez was provided with fake documents and was using the name
Rogelio Garza. He was paid cash for two years. He gave his information to a Letty
Zumaya. He met with a guy there at Delia’s that gave him his fake documents. The
working conditions were horrible. He worked during his break and during his lunch and
was never paid for that.

                      IV.     ARGUMENT AND AUTHORITIES

A.     Summary Judgment Standard
       Summary judgment is proper when there is no genuine dispute as to any material

fact and the moving party is entitled to judgment as a matter of law. FED R. CIV. P.

56(a). Genuine issue of material fact exists if a reasonable jury would enter a verdict for

the non-moving party. Crawford v. Formosa Plastic Corp., 234 F.3d 899, 902 (Fifth Cir.,

2000). The Court may consider any evidence in the pleadings, depositions, answers to

written discovery, admissions on file, and together with the affidavits, if any.

Paraphrased. Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.C.T. 2548 (1986). The

Court must view all evidence in the light most favorable to the non-moving party and

draw all reasonable inferences in that party’s favor. Crawford, 234 F.3d at 902.


                                       Page 10 of 18
  Case 7:23-cv-00343      Document 50        Filed on 11/08/24 in TXSD    Page 11 of 18




        In ruling on Defendant’s Motion for Summary Judgment, the Court should

consider Plaintiffs’ pleadings, excerpts of deposition testimony, responses to

interrogatories, some of which evidence is attached to Defendant's Motion for Summary

Judgment, and as well as Plaintiffs’ affidavits attached herein in the Appendix. This

Court should find that there is sufficient evidence to establish the low threshold ban in

FSLA causes of action, see the seminal case of         Anderson v. Mt. Clemens Pottery

Company, 328 US 680 (1946).

        The Plaintiffs’ burden in a FSLA cause of action is to prove that they have

performed work for which they were improperly compensated and to produce sufficient

evidence to show the amount and extent of that work as a matter of just and “reasonable

inferences.” Mt. Clemens, 328 U.S. at 687.

        The Plaintiffs’ summary judgment evidence presents sufficient evidence in the

form of written discovery responses, deposition testimony and attached affidavits to

support the low burden in Mt. Clemens in establishing a prima facie case in an FSLA

case.

B.      Delia’s is not entitled to summary judgment as liquidated damages may be
        established at time of trial.
        Whereas the burden is on the Plaintiffs to show willfulness, Defendants “bear the

substantial burden of proving the reasonableness of its conduct”. Good faith requires

some duty to investigate potential liability under the FSLA. Barcelona v. Tiffany Eng.

Eub., Inc., 597 F.2d 464 (5th Circ. 1979). As a threshold matter, the Court determines that

the Defendants’ FSLA violation was not willful, and does not preclude an award of
                                       Page 11 of 18
     Case 7:23-cv-00343    Document 50      Filed on 11/08/24 in TXSD    Page 12 of 18




liquidated damages. Dakar v. Saybolt, L.P., 914 F.3d 917, 931 (5th Cir. 2018). The Fifth

Circuit has held that even if a district court determines that an employer’s actions were

taken in good faith and based on reasonable grounds, the district court still retains the

discretion to award liquidated damages. Heidtman v. County of El Paso, 171 F.3d 1038

(5th Cir. 1999).

1.       Plaintiffs providing some evidence that Delia’s knew or should have
         known that some Plaintiffs were working more than 40 to 80 hours per week.

         Delia’s had actual and/or constructive knowledge Plaintiffs were working more

than 40 hours a week. The Plaintiffs, all of whom were undocumented souls were hired

by an non-enjoined party, Delia Garza and her extended family, and worked for years off-

the-clock and were paid either in cash or check with no deductions for IRS and/or Social

Security. See Appendix 8, 9, and 11, Affidavits of Rosa Quintanilla, Hector Gonzalez,

and Angelica Chavez.

         Some of the Plaintiffs employees worked during their lunch hour, breaks and

holidays for which they were not compensated. See Appendix 8, 9, and 11, Affidavits of

Rosa Quintanilla, Hector Gonzalez, and Angelica Chavez. See also, Appendix 20 and 21.

2.       Plaintiffs’ evidence reflects that all of the employees were working in excess of
         40 hours a week.

         Plaintiffs’ summary judgment evidence supports hourly employees worked in

excess of 40 hours a week and were not properly compensated. The Defendant cites

excerpts of Plaintiffs’ responses to discovery, establishing Plaintiffs’ hourly workers

worked 70 to 80 hours a week. Such as, Plaintiff Olga Perez, who worked from 5 AM to

                                       Page 12 of 18
     Case 7:23-cv-00343    Document 50          Filed on 11/08/24 in TXSD   Page 13 of 18




8 PM, some 15 hours a day for five days a week. See Appendix 1 and 1-A. Plaintiff Elias

Gutierrez, worked 8 hours per day for six days for nine months, and then 12 hours per

day from October to December, and then a 100 hours a week in December-Traditional

Mexican Christmas holiday period. See Appendix 3 and 3-A.

         The Plaintiffs have presented sufficient summary judgment evidence to satisfy the

lenient “prima facie” burden under Mt. Clemens. As the court held, “this leniency (under

Mt. Clemens) has led us to accept estimates of overtime hours derived from Plaintiffs’

testimony as adequate evidence. “Personal knowledge of work formed…was sufficient to

establish, by reasonable inferences, Flores v. Blinds, LLC, 73 F.4th 356 (Fifth Circ. 2023),

and City of Hodgson v. Rikey Fashions, Inc., 434 F.2d, 1261, 1264, (Fifth Circ. 1970).

3.       Quintanilla, Morales, Mauleon, Gonzalez, Zuniga, Lievanos, and Lopez,
         while they may have been classified as exempt do not come under the
         “executive exemption” in FSLA by Delia’s.

         Delia’s has claimed the “executive exemption”, it bears to burden of proving that

an employee is ineligible for overtime or minimum wage compensation. See Florentino

Meza v. Intelligent Mexican Mktg., Inc., 720 F.3d 577, 580 (5th Cir. 2013). “The employer must

prove facts by a preponderance of the evidence that show the exemption is plainly and

unmistakably applicable. Id. Meza at 581.

         It is undisputed that while some of Plaintiffs made more than $684.00 per week

during the relevant period, others did not. The Plaintiffs who declared that they were paid

the following weekly salaries: Zuniga declared that he was paid $1,120.00, Mauleon

declared that he was paid $820.00, Morales declared that he was paid $600.00 up to


                                            Page 13 of 18
  Case 7:23-cv-00343      Document 50       Filed on 11/08/24 in TXSD    Page 14 of 18




$1,326.00, Lievanos declared that he was paid up to $550.00, Quintanilla declared that

she was paid $1,120.00, Gonzalez declared that he was paid $900.00, and Lopez declared

that he was paid $1,299.00. While some of these Plaintiffs may meet the salary basis test,

they do not meet the required two other criteria in Hewitt.

       These seven employees, while they may have been classified as exempt employees

by Delia’s, this is a misclassification of what these individuals were performing in terms

of work. The Court must probe at whether or not these individuals’ duties were only

performed by a manager. Most of them had no authority to hire, fire, or even recommend

for employment.

       1.    Rosa Quintanilla was on salary making about $1,089.00 a week. What you
do not see are the hours she would put in week to week. She was working 80 hours a
week but since they classified her as a manager, she was exempt from overtime pay.
Defendant took advantage of the misclassification so they would not have to pay them
overtime pay, while Plaintiff was working 80 hours a week. See Appendix 8.

       2.     Armando Morales was on salary making about $600.00 a week. What you
do not see are the hours he would put in week to week. He was working over 55 hours a
week but since they classified him as a manager, he was exempt from overtime pay.
Defendant took advantage of the misclassification so they would not have to pay them
overtime pay, while Plaintiff was working over 55 hours a week. See Appendix 2.

       3.     Jorge Mauleon was on salary making $815.00 a week. What you do not see
are the hours he would put in week to week. He was working over 55 hours a week but
since they classified him as a manager, he was exempt from overtime pay. Defendant
took advantage of the misclassification so they would not have to pay them overtime pay,
while Plaintiff was working over 55 hours a week. See Appendix 10.

       4.     Hector Gonzalez was on salary making $1,200 a week. What you do not
see are the hours he would put in week to week. He was working over 55 hours a week
but since they classified him as a manager, he was exempt from overtime pay. Defendant
took advantage of the misclassification so they would not have to pay them overtime pay,
while Plaintiff was working over 55 hours a week. See Appendix 9.

                                       Page 14 of 18
  Case 7:23-cv-00343       Document 50       Filed on 11/08/24 in TXSD       Page 15 of 18




        5.     Luis Zuniga was making $935.00 a week. What you do not see are the
hours he would put in week to week. He was working over 70 hours a week but since
they classified him as a manager, he was exempt from overtime pay. He had no authority
to hire and fire. Defendant took advantage of the misclassification so they would not have
to pay them overtime pay, while Plaintiff was working over 70 hours a week. See
Appendix 4 and 4-A.

       6.     Rosendo Lievanos was making $550.00 per week. What you do not see are
the hours he would put in week to week. He was working over 70 hours a week but since
they classified him as a manager, he was exempt from overtime pay. Defendant too
advantage of the misclassification, so they would not have to pay them overtime pay,
while Plaintiff was working over 70 hours a week. See Appendix 6 and 6-A.

        7.    Defendant’s failed to list/include Angelica Chavez who was also a salary
employee getting $500.00 a week but also working over 80 hours a week. Delia’s
classified her as an exempt employee, so they would not have to pay the overtime pay.
See Appendix 11.

       Defendants failed to list/include Juana Cruz in the motion for summary judgment,

who was also a salary employee. Although, she had no authority to hire and fire, Ms.

Cruz worked 85 to 90 hours a week. Delia’s misclassified her so they would not have to

pay the extra hours. See Appendix 7.

       Defendants cite the Department of Labor (“DOL”) 29 U.S.C. § 213 (“The

provisions of section 206 . . . and section 207 . . . shall not apply with respect to . . . any

employee employed in a bona fide [executive capacity]. . . .”). The current compensation

salary or fee rate is not less than $684.00 per week, and not $455.00, and earn less than

$107,432.00, in total annual compensation.




                                        Page 15 of 18
  Case 7:23-cv-00343      Document 50       Filed on 11/08/24 in TXSD      Page 16 of 18




                                 V.      CONCLUSION

       For the reasons stated above, this court should deny Delia's Motion for Summary

Judgment and this case should proceed to trial in this matter. Plaintiffs pray for general

or special relief, both in equity and at law, to which they may justly show themselves

entitled to.

                                          Respectfully submitted,



                                          ______________________________
                                          Ricardo Gonzalez
                                          State Bar No. 08131490
                                          Oxford & Gonzalez
                                          124 S. 12th Ave.
                                          Edinburg, TX. 78539
                                          Phone: (956) 383-5654
                                          Fax: (956) 381-0002
                                          E-mail: ric@oxfordgonzalez.com

                                          Richard Rene Alamia
                                          Richard R. Alamia Attorney at Law
                                          619 S. 12th Ave.(Main Office) 78539
                                          Edinburg, TX 78539
                                          Phone: (956) 381-5766
                                          Fax: (956) 381-5774
                                          E-mail: richard.alamia@yahoo.com




                                       Page 16 of 18
  Case 7:23-cv-00343     Document 50     Filed on 11/08/24 in TXSD     Page 17 of 18




                           CERTIFICATE OF SERVICE

      This is to certify that on November 8, 2024, a true and correct copy of this

Response was served upon all interested parties via CM/ECF to the following:

      William R. Stukenberg
      wstukenberg@porterhedges.com

      Lorena D. Valle
      ivalle@porterhedges.com

      Stephen Quezada
      Stephen.quezada@ogletree.com


                                               ______________________________
                                               Ricardo Gonzalez




                                     Page 17 of 18
 Case 7:23-cv-00343    Document 50     Filed on 11/08/24 in TXSD    Page 18 of 18




                                  APPENDIX

1     Excerpts from the Deposition of Olga Perez dated June 26, 2024
1-A   Plaintiff Olga Perez Affidavit
2     Excerpts from the Deposition of Armando Morales de Llano dated June 26, 2024
3     Excerpts from the Deposition of Elias Gutierrez dated June 28, 2024
3-A   Plaintiff Elias Gutierrez Affidavit (a/k/a Gonzalo Esquivel Garcia)
4     Excerpts from the Deposition of Luis Zuniga dated June 28, 2024
4-A   Plaintiff Luis Zuniga Affidavit
5     Excerpts from the Deposition of Miguel Caballero dated June 26, 2024
6     Excerpts from the Deposition of Rosendo Lievanos dated June 28, 2024
6-A   Plaintiff Rosendo Lievanos Affidavit
7     Plaintiff Juana Cruz Affidavit
8     Plaintiff Rosa Quintanilla Affidavit
9     Plaintiff Hector Gonzalez Affidavit
10    Plaintiff Jorge Mauleon Affidavit
11    Plaintiff Angelica Chavez Affidavit
12    Plaintiff Ofelia Benavides Affidavit
13    Plaintiff Gabriela Velasquez Affidavit
14    Plaintiff Melesio Cruz Affidavit
15    Plaintiff Yessy Perez Affidavit
16    Plaintiff Mauricio Sanchez Affidavit
17    Plaintiff Rafael Sanchez Affidavit
18    Plaintiff Hector Sanchez Affidavit
19    Plaintiff Maria de Lourdes Cruz Affidavit
20    Affidavit of Patricia Conde
21    Affidavit of Norma Conde




                                   Page 18 of 18
